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UNITED STATES OF AMERICA,
Plaintiff,
CR. NO. 04~20229-Ma

VS.

CHRISTOPHER SMITH,

Defendant.

 

ORDER ON CONTIN'U'ANCE AND SPECIFYING PERIOD OF EXCLUDABLE DELAY

 

This cause came on for a report date on July 22, 2005.
Defense counsel requested a continuance of the present trial date
in order to allow for additional preparation in the case.

The Court granted the request and continued the trial to the
rotation docket beginning September 6, 2005 at 9:30 a.m., with a
report date of Friday, August 26, 2005 at 2:00 p.m.

The period from July 22, 2005 through September 16, 2005 is
excludable under 18 U.S.C. § 3161(h)(8)(B)(iv) because the
interests of justice in allowing additional time to prepare
outweigh the need for a speedy trial.

IT IS SO ORDER.ED this 210( day of August, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

This docL.ment entered on the docket sheet in compliance
with F{ule 55 and/or 321{)) FRCrP on ' "

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This notice confirms a copy cf the document docketed as number 121 in
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Honorable Samuel Mays
US DISTRICT COURT

